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      ORDERED in the Southern District of Florida on January 15, 2019.




                                                  Laurel M. Isicoff
                                                  Chief United States Bankruptcy Judge




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov
       IN RE:                                       CASE NO.: 18-14821-LMI

       WILL ZAMORA                                        Chapter 7

              Debtor./

                        ORDER GRANTING TRUSTEE’S MOTION
            FOR ORDER COMPELLING DEBTOR TO APPEAR AT RESCHEDULED
             SECTION 341 MEETING OF CREDITORS AND MOTION TO COMPEL
            THE DEBTOR TO FILE SCHEDULES AND CURE FILING DEFICIENCES

             THIS CAUSE having come before the Court on January 9, 2019 at 9:30 a.m. (the

      “Hearing”) upon Trustee’s Motion for Order Compelling Debtor to Appear at Rescheduled

      Section 341 Meeting of Creditors and Motion to Compel the Debtor to File Schedules and Cure

      Filing Deficiencies (the “Motion”) [ECF No. 80] and the Order Continuing Hearing on Trustee’s

      Motion for Order Compelling Debtor to Appear at Rescheduled Section 341 Meeting of

      Creditors and Motion to Compel the Debtor to File Schedules and Cure Filing Deficiencies (the
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“Order Continuing Hearing”) [ECF No. 83], and the Court, having noted that the Trustee

properly served the Motion and Order Continuing Hearing on the Debtor, it is ORDERED as

follows:


         1.    The Motion is GRANTED.

         2.    The Debtor is directed to appear at the next rescheduled Section 341 Meeting of

Creditors to be conducted on January 31, 2019 at 11:30 a.m.

         3.    The Debtor is directed to cure numerous filing deficiencies, including the filing of

a complete petition with schedules, as well as other applicable items subject to the Order

Converting Case to Chapter 7 [ECF No. 59], within fourteen (14) days of the entry of this Order.

         4.    If the Debtor fails to comply with the terms of this Order, the Trustee may file a

motion and submit an order to the Court denying or revoking the Debtor’s discharge.

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Submitted by:
John H. Lee, Esq.
Markowitz, Ringel, Trusty & Hartog, P.A.
Counsel to Chapter 7 Trustee
9130 South Dadeland Boulevard, Suite 1800
Miami, FL 33156
Tel: (305) 670-5000

Copies to:
John H. Lee, Esq.
(Attorney Lee is directed to mail a copy of this Order to all interested parties and to file a
certificate of service).
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